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                       UNITED STATES DISTRICT COURT
                          Northern District of California

                                     CIVIL MINUTES




 Date: February 20, 2024        Time: 2:31                   Judge: EDWARD M. CHEN


 Case No.: 17-cv-02162-EMC      Case Name: Food & Water Watch, Inc. v. Environmental
                                Protection Agency


Attorneys for Plaintiff: Michael Connett/ Andy Waters
Attorney for Defendants: Brandon Adkins/Paul Caintic/Emmet Ong


  Deputy Clerk: Ada Means                          Court Reporter: Jennifer Coulthard


                                     PROCEEDINGS


Bench trial closing arguments (Day 10) held and concluded by Zoom videoconference. The
parties addressed the Court’s questions contained in docket number 419.
